            Case 1:22-cv-02627-ABJ Document 1-3 Filed 08/31/22 Page 1 of Filed
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                                                                                        D.C. Superior Court
                                                                                        07/08/2022 08:DAM
                                                                                        Clerk of the Court

                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                           Civil Division

TAMIRA SANNI-SANOUSSI                             )
3355 16" Street, NW, #512                         )
Washington, DC 20010                              )
      Plaintiff,                                  )
                                                  )
       v.                                         )      Case No. 2022 CA 002918 V
                                                  )
WASHINGTON METROPOLITAN                           )
      AREA TRANSIT AUTHORITY                      )
600 5" Street, NW                                 )
Washington, DC 20001                              )
                                                  )
Serve: Patricia Lee, Esq.                         )
General Counsel                                   )
                                                  )
      Defendant.                                  )



                                           COMPLAINT
                                            (Negligence)

                                     Jurisdiction and Parties


       1.       This court has jurisdiction over the subject matter of this lawsuit pursuant to D.C.

Code sec 9-1107.10 in that the Washington Metropolitan Area Transit Authority ("WMATA") is

a defendant and D.C. Code sec. I 1-921 in that the accident complained of occurred in the

District of Columbia.

       2.       Plaintiff is a natural person and is a resident of Washington, DC. Plaintiff is and

was at the time of the incident referenced in this Complaint mobility impaired.

       3.       Defendant is a compact agency created under the Compact Clause of the United

States Constitution entered into between the District of Columbia, the State of Maryland and the

Commonwealth of Virginia with the consent of the United States Congress for the purpose inter
         Case 1:22-cv-02627-ABJ Document 1-3 Filed 08/31/22 Page 2 of 5




alia of creating a regional instrumentality to operate a transportation system in the Washington,

DC metropolitan area.

        4. Metro Access is a shared-ride, door-to-door, paratransit service for people whose

disability prevents them from using bus or rail. Metro Access is operated and managed by

defendant WMATA in compliance with the Americans with Disabilities Act, 42 U.S.C. sec.

121 O 1 et seq. WMATA owns the Metro Access vehicles it provides for paratransit service.

                                       Factual Allegations

        5.     On or about July 5, 2019 at approximately 3:30 p.m., plaintiff was a passenger in

a Metro Access vehicle stopped in the 3300 block of 16" Street, NW, in the District of

Columbia.

        6. At that time and place, plaintiff attempted to exit the Metro Access vehicle using a

mechanical lift on the Metro Access vehicle designed for that purpose and operated by the driver

of the Metro Access vehicle.

        7. On information and belief, the driver of the Metro Access vehicle was an employee of

defendant acting within the scope of his employment.

        8. In the alternative, on information and belief, the driver of the Metro Access vehicle

was an employee of an agent of defendant whose actions are attributable to defendant and was at

all relevant times acting within the scope of the agency.

        9. The Metro Access driver negligently operated the mechanical lift, causing plaintiff to

fall.

        1 O.   As a proximate cause of the subject fall, plaintiff sustained senous personal

injury, has incurred substantial medical expenses, and has endured great pain and suffering.



                                          COUNT ONE
                                                 2
         Case 1:22-cv-02627-ABJ Document 1-3 Filed 08/31/22 Page 3 of 5




                                   (Negligent Operation of Lift)

        11.     Plaintiff hereby incorporates paragraphs 1 through 1 O, supra, by reference.

        I 2.    Defendant owed a duty of care to plaintiff to operate the lift or to cause the lift to

be operated by its employees and agents in a non-negligent manner.

        13.     Defendant breached its duty of care owed to plaintiff when the driver of the Metro

Access vehicle negligently operated the lift, thereby causing plaintiff to fall.

        14. As a proximate cause of the aforesaid negligent acts, plaintiff sustained severe

permanent personal injuries, medical expenses, and has endured great pain and suffering, which

continues to the present.

                                           COUNT TWO

                                (Failure to Inspect and Maintain)

        15.     Plaintiff hereby incorporates paragraphs 1 through 1 O, supra, by reference.

        16.     Defendant and its agents owed a duty of care to plaintiff to inspect and maintain

the Metro Access vehicle, including the lift, in a safe condition so that passengers such as

plaintiff are not injured.

        17.     Defendant and its agents breached its duty of care owed to plaintiff when it

permitted the Metro Access vehicle to be placed in service, to accept plaintiff as a passenger, and

to allow plaintiff to use the lift when the lift was in an unsafe condition, resulting in plaintiffs

fall.

        18. As a proximate cause of the aforesaid negligence, plaintiff sustained severe

permanent personal injuries, medical expenses, and has endured great pain and suffering, which

continue to the present.




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         Case 1:22-cv-02627-ABJ Document 1-3 Filed 08/31/22 Page 4 of 5




                                   (Negligent Operation of Lift)

        11.     Plaintiff hereby incorporates paragraphs 1 through 1 O, supra, by reference.

        12.     Defendant owed a duty of care to plaintiff to operate the lift or to cause the lift to

be operated by its employees and agents in a non-negligent manner.

        13.     Defendant breached its duty of care owed to plaintiff when the driver of the Metro

Access vehicle negligently operated the lift, thereby causing plaintiff to fall.

        14. As a proximate cause of the aforesaid negligent acts, plaintiff sustained severe

permanent personal injuries, medical expenses, and has endured great pain and suffering, which

continues to the present.

                                           COUNT TWO

                                (Failure to Inspect and Maintain)

        15.     Plaintiff hereby incorporates paragraphs 1 through 10, supra, by reference.

        16.     Defendant and its agents owed a duty of care to plaintiff to inspect and maintain

the Metro Access vehicle, including the lift, in a safe condition so that passengers such as

plaintiff are not injured.

        17.     Defendant and its agents breached its duty of care owed to plaintiff when it

permitted the Metro Access vehicle to be placed in service, to accept plaintiff as a passenger, and

to allow plaintiff to use the lift when the lift was in an unsafe condition, resulting in plaintiffs

fall.

        18. As a proximate cause of the aforesaid negligence, plaintiff sustained severe

permanent personal injuries, medical expenses, and has endured great pain and suffering, which

continue to the present.




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        Case 1:22-cv-02627-ABJ Document 1-3 Filed 08/31/22 Page 5 of 5




       WHEREFORE, the plaintiff prays for judgment against defendant, in the amount of

$250,000.00 (Two Hundred and Fifty Thousand Dollars), plus costs and any other relief

permitted by law and deemed appropriate by the court.


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                                               Plaintiff's Counsel




                                        JURY DEMAND

     Plaintiff hereby demands trial by jury.


                                               Isl Vincent A. Jankoski




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